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SHAKE SHOPPE LLC,
                                                                Judge Matthew W. McFarland
                      Plaintiff,
                                                                Case No. 1:21-cv-00278
v.
                                                                ELECTRONICALLY FII.,ED
SHAKE SHOPPE IRONTON LLC,

                      Defendant.

                      DEFENDANT'S ANSWER TO COMPLAINT

        Defendant Shake Shoppe Ironton LLC ("Defendant") for its Answer to Plaintiff Shake
Shoppe LLC's ("Plaintiff') Complaint, states as follows:
        1.    Defendant states that paragraphs 1 and 2 of the Complaint contain no
allegations, which require a response, but merely recite the counts raised by Plaintiff in the
Complaint. To the extent that paragraphs 1 and 2 recite any allegations against or allege that
Defendant is liable for any of the causes of action, Defendant denies the allegations of
paragraphs 1 and 2 of the Complaint.
        2.    Defendant denies the allegations contained in paragraph 3 of the Complaint.
        3.    Defendant is without knowledge or information sufficient to form a belief as to
the truth of the allegations contained in paragraph 4 of the Complaint, and therefore denies
same.
        4.    Defendant admits the allegations contained in paragraphs 5 and b of the
Complaint.
        5.    Defendant states that paragraph 7 of the Complaint contain no allegations,
which require a response, but merely recite the counts raised by Plaintiff in the Complaint. To
the extent that paragraph 7 recites any allegations against or allege that Defendant is liable for
any of the causes of action, Defendant denies the allegations of paragraph 7 of the Complaint.
        6.    Defendant admits the allegations contained in paragraphs 8 and 9 of the
Complaint.


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        7.     Defendant denies the allegatians contained in paragraph 10 of the Complaint.
        $.     Defendant admits the allegations contained in paragraph 11 of the Complaint.
        9.     Defendant is without knowledge ar information sufficient to form a belief as to
the truth of the allegations contained in paragraphs 12-14 of the Complaint, and therefore
denies same.
        10.    Defendant denies the allegations contained in paragraph 15 of the Complaint.
        11.    Defendant is without knowledge or information sufficient to form a belief as to
the truth of the allegations contained in paragraphs 16-18 of the Complaint, and therefore
denies same.
        12.    Defendant denies the allegations contained in paragraph 19 of the Complaint.
        13.    Defendant is without knowledge or information sufficient to farm a belief as to
the truth of the allegations contained in paragraphs 20-29 of the Complaint, and therefore
denies same.
        14.    Defendant denies the allegations contained in paragraphs 30 and 31 of the
Complaint.
        15.    Defendant is without knowledge or information sufficient to form a belief as to
the truth of the allegations contained in paragraphs 32-39 of the Complaint, and therefore
denies same.
        16.    Defendant denies the allegations contained in paragraphs 40 of the Complaint.
        17.    Defendant is without knowledge ar information sufficient to form a belief as to
the truth of the allegations contained in paragraphs 41-49 of the Complaint, and therefore
denies same.
        18.    Defendant denies the allegations contained in paragraph 50 of the Complaint.
        19.    Defendant admits that E~ibits A-D are the best evidence of their content.
Defendant is without knowledge or information sufficient to form a belief as to the truth of the
remaining allegations contained in paragraph 51 of the Complaint, and therefore denies same
        2Q.    Defendant admits that Exhibits F-I are the best evidence of their content.
Defendant is without knowledge or information sufficient to form a belief as to the truth of the
remaining allegations contained in paragraphs 52-64 of the Complaint, and therefore denies
same.

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       21.    Defendant denies the allegations contained in paragraph b5 of the Complaint.
       22.    IDefendant admits the allegations contained in paragraph 66 of the Complaint
       23.    Defendant admits that it began operating a restaurant in Ironton, Ohia during
June of 2019. Defendant denies the remaining allegations contained in paragraph 67.
       24.    Defendant denies the allegations contained in paragraphs 68-69 of the
Complaint.
       25.    Defendant admits it established a Facebaok Profile. Defendant denies the
remaining allegations contained in paragraph 70 of the Complaint.
       26.    Defendant denies the allegations contained in paragraphs 71 and 72 of the
Complaint.
       27.    Defendant admits the allegations contained in paragraph 73 of the Complaint.
       28.    Defendant admits that the images in paragraphs 74-84 of the Complaint appear
to be accurate copies. Defendant denies the remaining allegations contained in paragraphs 74-
84 of the Complaint.
       29.    Defendant admits knowledge of Plaintiff's business. Defendant denies the
remaining allegations contained in paragraph 85 of the complaint.
       30.    Defendant denies the allegations contained in paragraphs 86-102 of the
Complaint.
       31.    Defendant admits receiving correspondence from Plaintiff. Defendant denies
the remaining allegations contained in paragraphs 103 and 104 of the Complaint.
       32.    Defendant denies the allegations contained in paragraphs 105-114 of the
Complaint.
                                            COUNT I
       33.    In response to paragraph 115 of the Complaint, Defendant refers to its responses
to paragraphs 1-114 in this Answer.
       34.    Defendant denies the allegations contained in paragraphs 116-123 of the
Complaint.
                                            COUNT II
       35.    In response to paragraph 124 of the Complaint, Defendant refers to its responses
to paragraphs 1-123 in this Answer.

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          36,   Defendant denies the allegations contained in paragraphs 125-135 of the
Complaint.
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          37.   In response to paragraph 136 of the Complaint, Defendant refers to its responses
to paragraphs 1-135 in this Answer.
          38.   Defendant denies the allegations contained in paragraphs 137-143 of the
Complaint.
                                                t
          39.   In response to paragraph 144 of the Complaint, Defendant refers to its responses
to paragraphs 1-143 in this Answer.
          40.   Defendant denies the allegations contained in paragraphs 145-152 of the
Complaint.
                                              COUNT V
          41.   In response to paragraph 153 of the Complaint, Defendant refers to its responses
to paragraphs 1-152 in this Answer.
          42.   Defendant denies the allegations contained in paragraphs 154-166 of the
Complaint.
                                             C~Z~If~~~1_Il~~J
          43.   In response to paragraph 167 of the Complaint, Defendant refers to its responses
to paragraphs 1-166 in this Answer.
          44.   Defendant denies the allegations contained in paragraphs 168-180 of the
Complaint.
          45.   Unless expressly admitted herein, Defendant denies any allegations contained
in the Complaint.
                                             First Defense
          1.    The Complaint fails to state any claims against Defendant upon which relief
may be granted, including but not limited to the SHAKE SHOPPE mark to identify "eat in
restaurant services" being finally found generic by the United States Patent and Trademark
Office.



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                                          Second Defense
       2.      One or more of Plaintiff's claims are barred by one or more of the doctrines of
laches, waiver, estoppel, accord and satisfaction, illegality, fraud, and descriptive fair use.
                                          Third Defense
       3.      One or more of Plaintiff's claims are barred by the doctrine of estoppel.
                                          Fourth Defense
       5.      One or more Plaintiff's claims are barred by the doctrine of unclean hands.
                                           Fifth Defense
       6.      One or more Plaintiff's claims are barred by lacking priority in rights to the
trademarks asserted in the Complaint.
                                           Sixth Defense
       7.      One or more of Plaintiff's claims are barred by license, release, or payment.
                                         Seventh Defense
       8.      One or more of Plaintiff's claims are barred by the applicable statute of
limitations.
                                          Eighth Defense
       9,      One or more of the Plaintiff's claims are barred by Plaintiff's unfair competition,
the dilution of the marks, or misuse of the marks.
       Defendant reserves the right to raise additional affirmative defenses andlor
counterclaims based upon further discovery and investigation.


       WHEREFORE, Defendant prays for judgment as follows:
       A.      for dismissal of the Complaint with prejudice;
       B.      for trial by jury of all issues so triable;
       C.      for its costs and reasonable attorneys' fees incurred herein; and
       D.      for any and all other relief as the Court deems proper.
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                                      Respectfully submitted,

                                     /s/ Alex S. Rodger
                                     Alex S. Rodger (0089525}
                                     STRAUSS TROY CO., LPA
                                     150 East Fourth Street, 4th Floor
                                     Cincinnati, Ohio 45202
                                     Telephone No.: (513) 629-9445
                                     Facsimile No.: (S13) 241-825

                                     ~'ounselfor Defendant
                                     SHAKE SHOPPE IRONTON LLC




                               CERTIFICATE OF SERVICE

        I hereby certify that the foregoing was electronically filed with the clerk of the court on
this the 21St day of May, 2021, which will provide notice to all counsel of record through the
ECF system.

                                             /s/ Alex S. Rodger




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